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                             UNITED STATES DISTRICT COURT
                             SOUTHERN DISTRICT OF FLORIDA

                       CASE NO. 15-22881-CIV-WILLIAMS/SIMONTON


 JULIO C. PENA NAVAS, et al.,

         Plaintiffs,

 vs.

 PAVER DAVE, INC., and
 DAVID E. KELLER,

        Defendants.
 _______________________________/

                       ORDER APPROVING SETTLEMENT AGREEMENT
                         AND DISMISSING CASE WITH PREJUDICE

         This matter is before the Court upon the Parties’ Joint Motion for Fairness Review

  and Order of Dismissal with Prejudice, ECF No. [55]. Pursuant to the consent of the

  Parties, the Honorable Kathleen M. Williams, United States District Judge, has referred

  this matter to the undersigned Magistrate Judge for all further proceedings, including

  trial by jury and entry of final judgment, ECF Nos. [20][21].

         This action involves claims brought by Plaintiffs Julio C. Pena Navas and Pablo

  Irineo Coto Mendoza against Defendants Paver Dave, Inc., and David E. Kellor for alleged

  violations of the Fair Labor Standards Act, 29 U.S.C. §§ 201 et seq., (“FLSA”), ECF No.

  [1]. The Parties have filed a Notice of Settlement and a Joint Motion for Fairness Review

  and Order of Dismissal with Prejudice wherein they request that the Court review the

  Parties’ Settlement Agreement to determine its fairness, dismiss the case with prejudice

  and retain jurisdiction to enforce the terms of the settlement, ECF Nos. [20][21]. The

  Parties have submitted the Confidential Settlement Agreement and General Release to

  the undersigned for review. The Settlement Agreement sets forth the details of the
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  settlement including the amount and terms of payment and provides that the Court shall

  retain jurisdiction to enforce or interpret the Agreement until July 1, 2017.

         In reviewing a settlement of an FLSA private claim, a court must "scrutiniz[e] the

  settlement for fairness," and determine that the settlement is a "fair and reasonable

  resolution of a bona fide dispute over FLSA provisions." Lynn’s Food Stores v. United

  States, 679 F.2d 1350, 1352-53 (11th Cir. 1982). A settlement entered into in an

  adversarial context where both sides are represented by counsel throughout litigation "is

  more likely to reflect a reasonable compromise of disputed issues." Id. The district court

  may approve the settlement in order to promote the policy of encouraging settlements of

  litigation. Id. at 1354.

         The undersigned has reviewed the record and the Settlement Agreement and

  General Release submitted by the Parties and finds that the settlement reached,

  including attorneys’ fees and costs, is a fair and reasonable resolution of the Parties’

  bona fide dispute. Accordingly, it is hereby

         ORDERED AND ADJUDGED that the Settlement Agreement and General

  Release is APPROVED, and the Parties’ Joint Motion for Fairness Review and Order of

  Dismissal with Prejudice, ECF No. [55] is GRANTED. The action is DISMISSED with

  prejudice and the Court retains jurisdiction to enforce the terms of the Settlement

  Agreement through July 3, 2017. It is further

         ORDERED AND ADJUDGED that this case is closed and all pending motions

  are denied as moot.

         DONE AND ORDERED in chambers at Miami, Florida, on February 27, 2017.


                                             ________________________________
                                             ANDREA M. SIMONTON
                                             UNITED STATES MAGISTRATE JUDGE


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  Copies provided via CM/ECF to:
  All counsel of record




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